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   EXHIBIT 4
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 WASHINGTON'S PHASED APPROACH
 Reopening Business and Modifying Physical Distancing Measures




                                  Phase 1                                     Phase 2                                      Phase 3                                       Phase4


High-Risk                                                                                                                                                    Resume public interactions,
Populations*          Continue to Stay Home, Stay Healthy         Continue to Stay Home, Stay Healthy           Continue to Stay Home, Stay Healthy          with physica I distancing

                                                                                                                - Outdoor group rec. sports activities
                                                                  All outdoor recreation involving fewer than     (5-50 people)
                      Some outdoor recreation                     5 people outside your household               - Recreational facilities at <50% capacity
Recreation            (hunting, fishing, golf, boating, hiking)   (camping, beaches, etc.)                        (public pools, etc.)                       Resume all recreational activity



Gatherings            -None
                      - Drive in spiritual service with           Gather with no more than 5 people             Allow gatherings with no more than
(social, spiritual)     one household per vehicle                 outside your household per week               50 people                                    Allow gatherings with >50 people

                                                                  Limited non-essential travel
Travel                Only essential travel                       within proximity of your home                 Resume non-essential travel                  Continue non-essential travel


                                                                  - Remaining manufacturing
                                                                  - New construction
                                                                  - In-home/domestic services                   - Restaurants <7 5% capacity/ table size
                                                                    (nannies, housecleaning, etc.)                no larger than 10
                                                                  - Reta ii (in-store purchases allowed         - Bars at <25% capacity
                                                                    with restrictions)                          - Indoor gyms at <50% capacity
                      - Essentia I businesses open                - Real estate                                 - Movie theaters at <50% capacity
                      - Existing construction that meet           - Professional services/office-based          - Government
                        agreed upon criteria                        businesses (telework remains strongly         (telework remains strongly encouraged)     - Nightclubs
                      - Landscaping                                 encouraged)                                 - Libraries                                  - Concert venues
                      - Automobile sales                          - Hair and nail salons/ Barbers               -Museums                                     - Large sporting events
                      - Retail (curb-side pick-up orders only)    - Housecleaning                               - All other business activities not yet      - Resume unrestricted staffing of worksites,
Business/             -Car washes                                 - Restaurants <50% capacity table size          listed except for nightclubs and events      but continue to practice physical
Employers             - Pet walkers                                 no larger than 5                              with greater than 50 people                  distancing and good hygiene
